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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

In re                                                           Chapter 11

FIELDWOOD ENERGY LLC, et al. 1                                  Case No. 20-33948 (MI)

                           Debtors.                             (Jointly Administered)


            CERTIFICATE OF COUNSEL TO APPLICATION FOR APPROVAL
           OF THE EMPLOYMENT OF COLE SCHOTZ P.C. AS CO-COUNSEL TO
               THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
                         EFFECTIVE AS OF AUGUST 20, 2020
                              (Related Docket No. 374)

           Cole Schotz PC, as counsel to the Official Committee of Unsecured Creditors (the “Cole

Schotz”), hereby certify as follows:

           1.       On September 18, 2020, the Application for Approval of the Employment of Cole

Schotz P.C. as Co-Counsel to the official Committee of Unsecured Creditors, Effective as of

August 20, 2020 [Docket No. 374] (the “Application”) was filed with the Court.

           2.       After the filing of the Application, Cole Schotz received informal comments to

the proposed order approving the Application, which informal comments were addressed and

resolved through revisions reflected in the attached revised proposed order submitted herewith.




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778);
     Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489);
     Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM
     Shelf LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP
     LLC (1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’
     primary mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.




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        3.      The undersigned counsel hereby certifies that the revised proposed order attached

hereto resolves all known formal and informal comments that Cole Schotz received. A redline

reflecting changes to the proposed order is also attached.

        4.      Cole Schotz respectfully request that the Court enter the attached revised

proposed order at the earliest convenience of the Court.


Dated: October 13, 2020
                                              /s/ Michael D. Warner
                                              COLE SCHOTZ P.C.
                                              Michael D. Warner (TX Bar No. 00792304)
                                              Benjamin L. Wallen (TX Bar No. 24102623)
                                              301 Commerce Street, Suite 1700
                                              Fort Worth, TX 76102
                                              Telephone: (817) 810-5250
                                              Facsimile: (817) 810-5255
                                              Email: mwarner@coleschotz.com
                                                       bwallen@coleschotz.com

                                              Proposed Co-Counsel for the Official Committee
                                              of Unsecured Creditors




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of October, 2020, a true and correct copy of the
above and foregoing has been served by electronic transmission to all registered CM/ECF users
appearing in these cases.

                                                     /s/ Michael D. Warner
                                                     Michael D. Warner




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